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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

THE HUNTINGTON NATIONAL BANK

            Plaintiff,

      vs.                                    Case No.: 2:12-cv-937
                                             Judge Michael H. Watson
TAYLOR BUILDING PRODUCTS, INC.,

            Defendant.


                                ORDER OF DISMISSAL

      This matter is before the Court following the Order, ECF No. 64, granting

the Receiver's motion to terminate the receivership. As set forth in the Order, the

receivership estate has been terminated, subject to this Court's reservation to the

Receiver of the power and duty to receive and distribute any funds received from

the State of Michigan or the Dow Chemical litigation. IT IS THEREFORE

ORDERED, ADJUDGED AND DECREED that

   1. Any and all remaining claims of any party in this matter are hereby

      dismissed without prejudice.

   2. All pending motions, if any, are denied as moot.

   3. The Clerk of Courts is instructed to close this case.




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IT IS SO ORDERED.



                                      UNITED STATES DISTRICT COURT
